      19-01082-scc       Doc 2     Filed 02/28/19       Entered 02/28/19 15:08:32          Summons        Pg 1
                                                         of 1
                              UNITED STATES BANKRUPTCY COURT
                                   Southern District of New York
In re: Runway Liquidation Holdings, LLC, et al.                                 Bankruptcy Case No.: 17−10466−scc

Runway Liquidation, LLC
                                                     Plaintiff(s),
−against−                                                                   Adversary Proceeding No. 19−01082−scc
Timex Garment (PVT) Ltd.
                                                    Defendant(s)

                    SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                          IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to submit a motion or answer to the complaint which is attached to this
summons to the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except that
the United States and its offices and agencies shall submit a motion or answer to the complaint within 35 days, to:

Address of Clerk:
                                                        Clerk of the Court
                                                        United States Bankruptcy Court
                                                        Southern District of New York
                                                        One Bowling Green
                                                        New York, NY 10004−1408
At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.
Name and Address of Plaintiff's Attorney:
                                                      Beth E. Levine
                                                      Pachulski Stang Ziehl & Jones LLP
                                                      780 Third Avenue, 36th Floor
                                                      New York, NY 10017−2024
If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will be
held at the following time and place:
United States Bankruptcy Court                                   Room: Courtroom 623 (SCC), One Bowling
Southern District of New York                                    Green, New York, NY 10004−1408
One Bowling Green
New York, NY 10004−1408                                          Date and Time: 4/23/19 at 11:00 AM
IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.


Dated: 2/28/19                                             Vito Genna

                                                           Clerk of the Court

                                                           By: /s/ Carmen Ortiz

                                                           Deputy Clerk
